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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                    Criminal No. 06-50(2)(DSD/JJG)


United States of America,

                Plaintiff,

v.                                                           ORDER

Antonio Lashawn Warfield,

                Defendant.




     This matter is before the court upon defendant’s objections to

the report and recommendation of United States Magistrate Judge

Jeanne J. Graham, dated April 14, 2006.              In her report, the

magistrate judge recommends that defendant’s motion to suppress

evidence be denied.

     The court reviews the reports and recommendations of the

magistrate judge de novo.       28 U.S.C. § 636(b)(1)(C).            Defendant

raises two objections to the report and recommendation.              First, he

objects to the magistrate judge’s conclusion that his performance

of   an   illegal   U-turn    established    probable        cause    for   an

investigatory stop of his vehicle.      Defendant asserts that he did

not in fact perform an illegal U-turn because he had first turned

into a driveway and then backed out to change course.                 However,

Officer Andrew Plant testified that defendant’s vehicle never

entered the driveway.        Rather, Officer Plant saw the tires of

defendant’s vehicle touch the curb next to the driveway before
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backing up and changing direction.                 Based on such evidence, the

court finds that the magistrate judge correctly found that Officer

Plant had a reasonable and articulable suspicion that defendant had

committed a traffic violation.

     Defendant also objects to the magistrate judge’s alternative

finding     that   the    general      bulletin    received      by       Officer       Plant

concerning     defendant’s        revoked       driver’s    license          established

probable cause for the stop.              Defendant points to the fact that

Officer Plant only mentioned defendant’s U-turn in his incident

report and argues that the court must “limit its evaluation of the

investigatory      stop    to    the   grounds     stated    in      [the     officer’s]

contemporaneous, first-hand report.”               (Def.’s Objs. at 2-3.)                The

court    disagrees.        The    Eighth       Circuit   Court       of     Appeals      has

recognized alternative grounds for reasonable suspicion even when

the arresting officer cited minor traffic violations as the initial

grounds for stopping a vehicle. See United States v. Williams, 429

F.3d 767, 770-72 (8th Cir. 2005).                For all of the above reasons,

defendant’s objections to the R&R are without merit.

     Therefore, after a de novo review of the file and record, the

court adopts the report and recommendation of the magistrate judge

[Docket No. 49] in its entirety. Accordingly, IT IS HEREBY ORDERED




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that defendant’s motion to suppress statements and evidence [Docket

No. 22] is denied.


Dated:   May 24, 2006



                                       s/David S. Doty
                                       David S. Doty, Judge
                                       United States District Court




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